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                        6    Attorneys for Plaintiff/Counter-defendant
                             Falk Oral and Facial Surgery PLLC
                        7
                                                          UNITED STATES DISTRICT COURT
                        8
                                                                DISTRICT OF NEVADA
                        9
                       10     Falk Oral and Facial Surgery PLLC d/b/a        No. 2:21-cv-01464-JCM-DJA
                              Canyon Oral and Facial Surgery, a Nevada
                       11     professional limited liability company,        STIPULATION AND ORDER TO
                                                                             EXTEND (1) PLAINTIFF’S/
                       12                    Plaintiff,                      COUNTER-DEFENDANT’S
                                                                             DEADLINE TO FILE RESPONSIVE
                       13     vs.                                            PLEADING TO COUNTERCLAIM,
                                                                             AND (2) PARTIES’ DEADLINE TO
                       14     Sudheer J. Surpure, MD, DDS, Inc. d/b/a        FILE JOINT DISCOVERY PLAN AND
                              Grand Canyon Oral & Facial Surgery, a          PROPOSED SCHEDULING ORDER
                       15     Nevada corporation,
                                                                             [THIRD REQUEST]
                       16                    Defendant.

                       17
                              Sudheer Surpure, MD, DDS, Inc. d/b/a
                       18     Grand Canyon Oral & Facial Surgery, a
                              Nevada corporation,
                       19
                                             Counterclaimant,
                       20     vs.

                       21     Falk Oral and Facial Surgery PLLC d/b/a
                              Canyon Oral and Facial Surgery, a Nevada
                       22     professional limited liability company,

                       23                    Counter-defendant.

                       24

                       25           Pursuant to LR IA 6-1, Defendant Sudheer J. Surpure, MD, DDS, Inc., dba Grand Canyon
                             Oral & Facial Surgery (“Defendant”) and Plaintiff Falk Oral and Facial Surgery PLL dba Canyon
                       26
                             Oral and Facial Surgery (“Plaintiff”) submit the following Stipulation to Extend Time to file (1)
                       27
                             Plaintiff’s/Counter-defendant’s responsive pleading to Counterclaim up to and including
                       28
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                        1    December 27, 2021, and (2) the parties’ Joint Discovery Plan and proposed Scheduling Order up

                        2    to and including December 29, 2021. In support of the Stipulation, the parties state the following:

                        3           1.      Plaintiff’s/Counter-defendant’s responsive pleading to the Counterclaim is

                        4    currently due November 24, 2021. (ECF No. 23)

                        5           2.      The parties’ Joint Discovery Plan and proposed Scheduling Order is currently due

                        6    November 29, 2021. (ECF No. 23)
                                    3.      The parties are in active settlement discussions and anticipate entering into a
                        7
                             definitive agreement shortly and thus wish to extend upcoming deadlines.
                        8
                                    4.      This is the third request to extend the deadline for Plaintiff/Counter-defendant to
                        9
                             file its responsive pleading to Counterclaim, and for the parties to file their Joint Discovery Plan
                       10
                             and proposed Scheduling Order.
                       11
                                    5.      This request for an extension of time is not intended to cause any undue delay or
                       12
                             prejudice any party.
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                                    6.      Therefore, the parties hereby stipulate that the deadline for Plaintiff/Counter-
                       14
                             defendant to file its responsive pleading shall be extended to December 27, 2021.
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                        1           7.     The parties further stipulate that the deadline for the parties to file their Joint

                        2    Discovery Plan and proposed Scheduling Order be extended to December 29, 2021.

                        3           RESPECTFULLY SUBMITTED this 24th day of November, 2021.

                        4    WEIDE & MILLER, LTD.                            MILLIGAN LAWLESS, P.C.
                        5    By: /s/ F. Christopher Austin_____
                             F. Christopher Austin (NSB # 6559)              By: /s/ Robert J. Itri______________
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                             Attorneys for Plaintiff/Counter-defendant       SKLAR WILLIAMS PLLC
                       10

                       11                                                    By: /s/ Nadia Ahmed_______________
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                       12                                                    Nadia Ahmed (NSB 15489)
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                       13                                                    nahmed@sklar-law.com
                       14                                                    Attorneys for Defendants/Counterclaimant
                       15

                       16                                  IT IS SO ORDERED:

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                       18
                                                           UNITED STATES MAGISTRATE JUDGE
                       19
                                                                    November 29, 2021
                                                           DATED: ____________________________________
                       20

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